24°

25°

Case 01-01139-AMC Doc 4020-3 Filed 07/08/03 Page 1of5

IN THE UNITED STATES wISTRICT COURT
FOR THE DISTRICT OF SoUTH CAROLINA
GREENVILLE DIVISION

APPEARANCES?

FOR THE PLAINTIFF: DANIEL SPEIGHTS, ESQ.

P.0. 80X 6685
HAMPTON, S.C, 29924

FOR THE DEFENDANT:
ue 308 NORTH MAIN STREET

6:89-1297~4

BLUE CROSS AND BLUE SHIELD )
. OF SOUTH CAROLINA, y
) -
-PLAINTIFF, )
- )
VERSUS ) C/A NO.
- * } _
WOR. GRACE & CO.-CONN., )
. -- -)
DEFENDANT. }
-_ } -
BEFORE: Ts
THE HON. JOSEPH F. ANDERSON, OR.,
. - U.S. DISTRICT JUDGE
GREENVILLE, S.c.
eS MAY 3@, 1991
VOLUME xI
: TRANSCRIPT ‘OF JURY TRIAL

CHARLES ALAN RUNYAN, ESQ.

L. GRAY GEDDIE, JR... ESQ.

GREENVILLE, S.C. 29602

‘Lours c. WOOLF, ESQ.
90@ GAY STREET, S.w.-,
KNOXVILLE, TENNESSEE

SUITE 22009

37982

GARY NM. SMLEH. RPE oom
VEUCSR TA “OTMEET 2 em ereve fen:

Case 01-01139-AMC Doc 4020-3 Filed 07/08/03 _Page 20f5

DIRECT °, THaT‘s CORRECT, srr.

G- DR. LONGO. BASED UPON youR EXPERIENCE, NUMBER OF years

YOU WORKED WITH TEM, THE NUMBER GF YEARS You HAVE PONE

ASBESTOS SAMPLING, THE NUMBER OF YEARS YOU HAVE DONE DUST

SAMPLING AND THE WORK THAT you HAVE DONE, WOULD YOU TELL THE

JURY WHAT THE COMPARISON fs BETWEEN SONICATING A SAMPLE AND

NOT SONICATING A OUST SAMPLE?

A. THE COMPARISONS ARE LITERALLY COMPARABLE. IF you TAKE

EXAMPLE, IF WE TAKE A GROUP oF SAMPLES AND TAKE ONE OR TWO at

USE THE ALCOHOL PREP anod NO soNrercaTron WHICH WOULD BE °

“DIFFERENT. FROM THE WATER PREP AND SONIFICATION, THE RESULTS

ARE RIGHT IN THE MIDDLE THERE SOMEWHERE, _ So THEY ARE NOT THE

PURPOSE OF SONIFICATION?

A. WELL, WHEN YOU PUT THESE MATERIALS IN WATER THE PURPOSE
OF SONIFICATION tS Fo GET EVEN DISTRIBUTION. THE ASBESTOS OR

THRYSOTILE HAS A SURFACE CHARGE ON IT, so WHEN You PUT IN
WATER THEY TEND TO ATTRACT EACH OTHER. WE FOUND THAT THESE
SAMPLES IN WATER IF YOU SONIFICATE IT YOU ARE ABLE TO GET A
MORE HOMOGENEOUS DISTRIBUTION. so YOU ARE SETTING THE
STRUCTURE SPREAD: out SO YOU CAN FILTER IN A MORE EVEN MANNER.
Q. HAVING DONE THaT WITH A DUST SAMPLE, WHY DON'T vou Do A

DIRECT PREPARATION?

r A, WELL, UNFORTUNATELY IN THESE DUST SAMPLES THERE Ig sO

GARY AH. SMITH, RPK. cn
FOLUMBTG. SNUTY caeny typ
om * *

~ SPAGHETTI FIBERS OR

SOME TESTIMONY

I MAY MISSTATE

| THE SPAGHETTI. |

Case 01-01139-AMC Doc 4020-3 Filed 07/08/03 Page 3 of 5
MUCH AS STOS AND SO KUCH WATERIAL, IT COMPLETELY OVERLOADS

THE FILTERS, YOU COULD NEVER LOOK THROUGH IT. fT WOULD Be

TRYING To-- It WOULO BE TRYING TO WALK THROUGH THIS COURTROO

WITH YOUR EYES CLOSED AND “TRYING TO ANALYZE EVERYTHING,

You HAVE TO GET “THE “ASBESTOS Down TO A POINT WHERE

YOU HAVE SINGLE FIBERS. A GOOD ANALOGY OF THIS Ys IF YOU HA\

SO MUCH ASBESTOS IT WOULO BE LIKE LOOKING AT A PLATE OF

SPAGHETTI AND _ TRYING To DETERMINE HOW MANY STRANDS ARE THERE.
NOW IF I TAKE THAT PLATE OF SPAGHETTI ANDO I SPREAD IT ouT OR
PUT IN WATER AND DILUTE IT NOW I CAN COUNT THOSE INDIVIDUAL

| ASBESTOS FIBERS, So THAT'S WHY WE Do THAT.

SIR.

Q- ° ONE MORE LINE OF QUESTIONING,
rhe

SPECIFICALLY BY OR.

LONGO, THERE'S BEEN

LEE THAT SONIFICATION, AND
THIS, BUT I BELIEVE HE SAID rT EXPLODES FIBERS
OR BREAKS THEM UP, DO YOU AGREE WITH THAT?

a. NO, SIR, ASBESTOS FIBERS HAVE A TENSILE STRENGTH oF

100,000 P $ I, THEY ARE NOT BREAKING APART OR EXPLODING. x
THINK Your Glass (BEAKERS ‘WouLD EXPLODE WAY GEFORE THEN.
o. oR.

Lonso,. LET'S JUST ASSUME FOR THE SAKE OF ARGURENT

ASBESTOS FIBERS WERE BEING BROKEN UP WITH SONIFICATION, .
“WOULD You EXPECT THE RESULTS To SHOW as CONPARED To ONE
WASN'T SONICATED, IF THAT WAS HAPPENING?

A. WELL,

IF YDU CAN LOOK AT IT THIS WAY, LET'S GO BACK To

IF YOU HAD DRIED SPAGHETTI. AND say rt -was -turs|

(GARY NL SMITH, RPR, cm

ae tte we Tee mw me wt

Case 01-01139-AMC Doc 4020-3 _ Filed 07/08/63

a

TALL ANS I HAD A HUNDRED STALKS OF SPAGHETTI THIS TALL AND 3
HAD EXPLODED THEM ALL UP. SO WHAT I WOULD BE DOING Is Taxrn:

THEM ANO BREAKING THEN UP AND PRETTY SOON I WOULD Have ALL t

- SPAGHETTI FIBERS THIS ~TAGL. SO YOU WOULO GO FROM ALL -THESE

BIG TALL SPAGHETTI FIBERS TO ALL THESE SMALL ONES. - $9 YOU

WOULD EXPECT To HAVE NO BIG SPAGHETTI FIBERS OR NO BIG

ASBESTOS FIBERS, . 7

THAT'S NOT WHAT HAPPENS WHEN WE SEE SONIFICATION, |
SEE THAT THE SIZE DISTRIBUTION OF OUR BIG FIBERS AND OUR
LITTLE FIBERS sTay THE SANE. AND IN THAT WORK WE HAVE
OEMONSTRATED OVER AND OVER-~ IN FACT THAT 800K"YOU ARE HOLDIN
ALSO SUGGESTS THAT'S WHAT Is HAPPENING. SO, THE SIZE

OTSTRIBUTION DOES NOT CHANGE. IF You ARE BREAKING oR

tie
ate

- EXPLODING THINGS uP OR MAKING THEM SMALLER, YOU. HAVE To GET a

WHOLE BUNCH OF SMALL ONES AND NO BIG oNES AND THAT DOES NoT
HAPPEN. .

Q. IS THAT ALSO THE CASE. WITH THE NUMBER OF MATRICES AND
CLUSTERS AND BUNDLES?

A. WE SEE THE. SAME SIZE DISTRIBUTIONS, SO IN FACT WE FEEL WE
ARE GETTING A MORE BETTER HOMOGENEOUS DISTRIBUTION, WE ARE
ABLE TO SEE ALi. THE STRUCTURES BETTER.

Q. OR. LONGO, IS Your TESTIMONY. CONSISTENT WITH THIS
COCUNENT? ee .

A. YES, SIR.-

Q. AND WHAT IS THIS DOCUMENT?

GARY N. SMITH, ‘RPK. th

fee Tents ee eae Be
+

24

257°

Case 01-01139-AMC Dec 4020-3 Filed 07/08/03 Page 5of5
A. TH «Is COMPARISONS OF AIRBORN. ASBESTOS LEVELS

OETERNINED BY TRANSMISSION ELECTRON MICROSCOPY USING THE
INOIRECT AND DIRECT TECHNIQUE, WHICH IS AN EPA DOCUMENT THAT
cane OUT LATE LAST YEaR..

AR. ‘WOOLF: ALREADY BEEN TESTIFIED To.

MR. RUNYAN: THAT WAS IT.

THE COURT: CROSS EXAMINATION.

_CROSS EXAMINATION

BY AR. WOOLF: ° -

Q. EVERYBODY HAS BEEN HANDING mE QUESTIONS, MR. LONGO, you

HAVE TESTIFIED FOR PLAINTIFF'S ATTORNEYS BEFORE IN CASES?

A. YES, SIR. os

_

Q. YOU HAVE TESTIFIED FoR PLATNTIFE'S ATTORNEYS IN CASES

ihe

BEFORE THIS CASE EVEN STARTED?
A. YES, SIR, THAT'S CORRECT.

Q- YOU ARE ON THE WITNESS LIST: IN THIS CASE?

A. YES, SIR. .

Q. You HAVE BEEN’ AVAILABLE TO TESTIFY DURING THE COURSE OF
THE TRIAL?

A. I oOON'T KNOW IF I HAVE BEEN AVAILABLE, I HAVE BEEN DOING
OTHER THINGS, BUT I GUESS I WAS ON THE urtness LIST, THAT'S
CORRECT, STR.

Q@- SO, YOU HAVE BEEN AVAILADLE?

A. IF IT COULD HAVE WORKED To HY SCHEDULE I COULD HAVE BEEN.

Q. HAD PLAINTIFF'S ATTORNEYS ASKED YOU.TO BE HERE ANY TIME

GARY MN. SMITH, Heel CH

Fane te age coment me eee tee

